                                        UNITED STATES BANKRUPTCY COURT
                                               DISTRICT OF OREGON

In re                                                  )
                                                       )    Case No.        18−33339−tmb13
Edward J. Duffy                                        )
                                                       )
                                                       )
                                                       )    CHAPTER 13 PLAN DATED                 10/16/18
Debtor(s)                                              )

NOTICE: Your rights may be affected: all parties (including debtor and creditors) are bound to the terms
of a confirmed plan. Creditors’ claims may be modified or eliminated. The plan imposes obligations and
duties on the debtor and other parties. You should read these papers carefully and discuss them with
your attorney. If you do not have one, you may wish to consult one.

If you oppose the plan treatment of your claim or any provision of this chapter 13 plan, you must file an
objection. Failure of a creditor to file a written objection to this plan will constitute acceptance of the plan,
and the bankruptcy court may confirm the plan without further notice. Objections must be filed within 14
days after the conclusion of the meeting of creditors, unless otherwise ordered by the court; for an amended
plan, the deadline is in the attached notice of amendment. If there are any additional plan provisions or provisions
that alter the language of paragraphs 1–14, they must be in paragraphs 15+ below.

1. Plan Motions. This plan does or does not include the following items:
 Includes:        Does
              Not Include:
                                 Motion to Value Collateral: A limit on the amount of a secured claim, set
                                 out in paragraphs 4(b)(1) and (2), which may result in a partial payment or
                                 no payment at all to the secured creditor.
                                 Motion for Relief: Termination of the automatic stay with respect to
                                 surrendered property, set out in paragraph 4(b)(4), or property subject to a
                                 rejected contract or lease, set out in paragraph 5.
                                 Motion to Avoid Liens: Avoidance of a judicial lien or nonpossessory, non-
                                 purchase-money security interest, set out in paragraph 6.
                                 Nonstandard Provisions: Nonstandard provisions, set out starting in
                                 paragraph 15.

2. Applicable Commitment Period. The applicable commitment period of this plan is                 36 or      60 months.
    Debtor must make plan payments for that period unless debtor first pays 100% of all allowed claims with
    appropriate interest. If that period is 36 months, the plan payments may continue for a longer period, not to
    exceed 60 months, as necessary to complete required payments to creditors. The approximate length of the
    plan is                   months; cause to extend longer than 36 months is as follows:


3. Payments to the Trustee. Debtor must pay to the trustee:

            (a) a monthly payment of $ 500                                                                             ;

            (b) all non-exempt proceeds from avoided transfers, including those from transfers avoided by the
                trustee;

            (c) upon receipt, net tax refunds attributable to the following tax years:      2018, 2019,   2020
                                                                                                    _____________
                ______________________________________________;
                 2021, 2022                                                   net tax refunds are those tax refunds
                not otherwise provided for in the plan, less tax paid by debtor for a deficiency shown on any tax
                return for that same tax year or tax paid by setoff by a tax agency for a post-petition tax year.
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    (d) a lump sum payment of $                      n/a                     on or before                      (date); and

    (e) Proceeds from Para. 16                                                                                           .

4. Trustee Disbursements and Treatment of Claims. The trustee must commence pre-confirmation
   disbursements required by paragraph 4(b)(3); upon confirmation of this plan, the trustee must commence
   disbursements in accordance with this plan. The trustee must not make any disbursement under this
   paragraph except on account of an allowed claim or allowed administrative expense. Should the trustee not
   have sufficient funds in trust to pay fully the disbursements listed below, disbursements of available funds
   must be made pro rata. The trustee must disburse all funds in the following amounts and order:

    (a) Trustee’s Fee and Expenses. First, to the trustee's percentage fee and expenses.

    (b) Treatment of Secured Claims. Second, to secured creditors as provided in (1) and (2) below. The terms
        of debtor’s prepetition agreement with each secured creditor will continue to apply, except as otherwise
        provided in this plan or in the confirmation order. The value of collateral for secured claims is fixed at the
        values stated in (1) and (2) only if there is a check in the box “Includes” in paragraph 1 for “Motion to
        Value Collateral” and the plan is served on the secured creditor as required under FRBP 7004 or the
        allowed amount of the secured claim is fixed by consent of the secured creditor. Secured creditors’ liens
        shall be treated in accordance with §1325(a)(5)(B)(i) and must be released when retention ends under
        that section.

        (1) Cure of Default and Claim Modification. Debtor must cure the default and maintain the contractual
            installment payments (as provided in paragraph 7) on a secured claim listed below in the “Estimated
            Arrearage if Curing” column. The amount listed in that column is an estimate; the creditor’s allowed
            claim will control. A claim listed in the “Collateral Value if Not Paying in Full” column is an allowed
            secured claim only to the extent of the value listed, and pursuant to § 506(a), debtor MOVES the
            court for an order fixing the value of the collateral in the listed amount. The value of the creditor’s
            interest in the collateral is limited to the amount listed below, and that amount will be paid under the
            plan with post-confirmation interest at the rate stated below. The holder of a claim listed in the
            "Estimated Secured Claim if Paying in Full" column will receive the total amount of the claim as set
            forth in the creditor's proof of claim.

           For all creditors provided for under this subparagraph (1), if the creditor’s claim will not be paid in
           full, the portion of the creditor’s claim that exceeds the amount of the allowed secured claim will be
           treated as an unsecured claim under paragraph 4(f) (if the claim identifies the priority position of the
           claim) and 4(g) below.
                                                             Collateral  Estimated
                                               Estimated      Value if    Secured                       Monthly
                                               Arrearage Not Paying       Claim if         Interest        Plan
    Creditor               Collateral           if Curing      in Full  Paying in Full       Rate       Payment
   Wells Fargo            Residence            $134,884                                       0%          *AAF




                                              Use only one of these columns for each creditor


*AAF = All Available Funds After Attorney Fees


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        (2) Secured Claim Modification Not Expressly Authorized by the Code. Treatment of secured
            claims under this subparagraph (2) may include modification of a claim secured by a purchase-
            money security interest in either (a) a motor vehicle acquired for personal use by the debtor within
            910 days before the petition date or (b) any other personal property collateral acquired within 1 year
            before the petition date. A secured claim treated in this subparagraph is limited to the amount listed
            in the “Amount of Claim as Modified (Value of Collateral)” column. Debtor MOVES the court for an
            order fixing the value of the collateral in the amount listed below. Debtor proposes that the
            creditors listed accept, either expressly or impliedly, the following treatment, which might
            not be able to be approved absent consent of creditor. Failure of a creditor to file a written
            objection to this plan before confirmation will constitute acceptance of the plan.

                                                                Amount of Claim
                                                                  as Modified       Post-confirmation       Monthly
         Creditor                       Collateral            (Value of Collateral)   Interest Rate         Payment
None




        (3) Adequate Protection. Payments must be disbursed by the trustee before confirmation, as adequate
            protection, from funds on hand with the trustee in the payment amounts specified in the plan for
            personal-property-secured creditors. Payments by the trustee before confirmation will be deducted
            from the amount of the allowed secured claim. Unless the concerned creditor is fully secured or over-
            secured under § 506 or § 1325(a)(9), no interest will accrue or may be paid from the petition date to
            the confirmation date unless otherwise specifically provided for in the payment provisions set forth
            above.

        (4) Surrender of Collateral. Debtor must surrender any collateral not addressed by the terms of this
            plan no later than the confirmation date to the following (state creditor name followed by description
            of collateral to be surrendered, and if debtor does not have possession of the collateral, so state):
            None




             With respect to the claims secured by the collateral listed in this subparagraph (4), debtor MOVES
             that the stay of § 362(a) be terminated as to the collateral only and that the stay of § 1301 be
             terminated.




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    (c) Debtor’s Attorney Compensation. Third, to debtor’s attorney fees of $          8,000.00   and expenses of
        $         0.00          , of which $    4,500.00        has been paid, leaving  $    3,500.00       unpaid.
        Upon application, the court may award not more than $500 in addition to the above amount without
        further notice at the time of confirmation. Debtor’s attorney     may       may not apply for supplemental
        compensation and expense reimbursement. Attorney will be paid as follows (check only one):
             All attorney fees and expenses, including supplemental compensation, will be paid from all available
             funds after the trustee makes any disbursements under paragraph 4(a) and any fixed monthly
             payments in paragraph 4(b).
             Other:


   (d) Domestic Support. Fourth, to allowed unsecured domestic support obligations under § 507(a)(1).

   (e) Administrative Expenses. Fifth, to allowed administrative expenses under § 507(a)(2).

   (f)   Priority Claims. Sixth, to allowed priority claims in the order stated in § 507(a)(3)–(10), including §
         1305 claims.

   (g) Unsecured Claims. Seventh, to allowed nonpriority unsecured claims, the amounts required by §
       1325(b)(1). [mark only one].

            (1) Creditors will receive approximately        0       % of their claims. Payment of any dividend
            will depend on the amounts of allowed secured, priority (including costs of administration and the
            debtor’s attorney fees), and nonpriority unsecured claims.
             (2) Creditors will receive a minimum             % of their claims.

   (h) Best Interest of Creditors. The "best interest of creditors" number is $           0           , and not
       less than that amount must be distributed to unsecured priority and nonpriority creditors. The amount
       of allowed priority claims will reduce the amount distributed to allowed unsecured nonpriority creditors.

   (i)   Unsecured Claim Interest. All allowed unsecured claims will receive interest of           0      % from the
         time of confirmation.

   (j)   Untimely Claims Disallowed. Subject to the provisions of § 502(b)(9), untimely claims are disallowed
         without the need for objection.

5. Executory Contracts and Leases. The debtor ASSUMES the following executory contracts and
        leases:

                                         Amount of Default
      Creditor                            [State if None]                  Cure Provisions
 Kehoe NW Properties                            None                 Assume forbearance agreement - no
                                                                     payments due until 2/28/21

   Executory contracts or leases not specifically listed above are rejected. Any allowed claim arising from
   rejection will be treated under paragraph 4(g). Debtor will pay all assumed executory contracts and leases
   directly, including amounts required to cure. Debtor must surrender any property covered by rejected
   executory contracts or leases to the affected creditor no later than confirmation. Debtor MOVES that the
   stay of § 362(a) be terminated as to all property covered by rejected executory contracts and leases and
   that the stay of § 1301 be terminated.




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6. Section 522 Lien Avoidance. Debtor MOVES, pursuant to § 522(f)(1), to avoid the judicial liens or non-
   purchase-money security interests of the following creditors because they impair an exemption of the debtor:
    n/a


    The order of confirmation will avoid the liens listed above, and claims of the lienholders will be treated in
    paragraph 4(g).

7. Direct Payments. Debtor must pay directly to each of the following creditors the regular payment that comes
   due after the petition date (state creditor name followed by collateral description):
    Wells Fargo Bank, N.A. - Residence at 1717 SW Highland Road, Portland, OR 97221




8. Use of Credit. Debtor may not incur credit or debt obligations during the life of the plan without the trustee's
   written consent unless made necessary by emergency or incurred in the ordinary course of operating debtor's
   business.

9. Debtor Reporting Requirements. Unless waived by the trustee in writing, debtor must report immediately,
   upon receipt of notice of the change, to the trustee if actual or projected gross annual income exceeds by
   more than 10% the gross income projected by debtor in the most recently filed Schedule I. Unless listed in
   the schedules, debtor must report immediately to the trustee any right of debtor to a distribution or right to
   distribution of funds or other property, including bonuses and inheritances, worth more than $2,500.

10. Post-petition Tax Reporting. For tax years listed in paragraph 3(c), debtor must timely file all required tax
    returns and provide copies to the trustee each year immediately upon filing with the taxing authority.

11. Vesting of Estate Property; Limitations on Post-confirmation Property Use. Property of the estate will
    vest in debtor upon confirmation, subject to the terms of this paragraph. Except for regular monthly income,
    any right of debtor to a distribution of funds or other property exceeding a value of $2,500 must be held by
    debtor and not used without the trustee's permission or a court order. Debtor must not buy, sell, use, lease
    (other than a lease of real property in which the debtor will reside), encumber, or otherwise dispose of any
    interest in: (a) real property; or (b) personal property worth more than $10,000 out of the ordinary course of
    business without notice (given per FRBP 2002 as if the interest were property of the estate) to all creditors
    and the trustee, with an opportunity for hearing, unless the property is acquired through the use of credit with
    the trustee's written consent.

12. Treatment of Trustee Funds on Hand Upon Dismissal or Conversion. If this case is converted to chapter
    7 and the chapter 13 trustee has more than $2,500 at the time of conversion, the chapter 13 trustee must
    forward all funds to debtor, in care of debtor’s attorney, if any, 10 days after the first scheduled § 341(a)
    meeting in the chapter 7 case unless the chapter 7 trustee files and serves a written objection pursuant to §
    348(f)(2). If the funds in the chapter 13 trustee's possession at conversion are $2,500 or less, or if this case
    is dismissed, the chapter 13 trustee must forward all funds to debtor in care of debtor's attorney, if any. This
    paragraph does not determine the rights of the parties to these funds.

13. Reservation of Rights and Powers. Except as expressly set forth in this plan or the confirmation order,
    neither this plan nor the confirmation order affects any right or power of debtor or the trustee, including
    debtor’s rights under § 1302 and rights of the trustee or any trustee’s assignee under 11 USC chapter 5.




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14. Additional Nonstandard Provisions. Any nonstandard provisions are set forth below or on attachments;
    each provision is numbered, beginning with 15. Debtor and, if applicable, debtor’s counsel certify that the
    plan contains no nonstandard provision other than those set out consistent with this paragraph. Nonstandard
    provisions set out elsewhere in this plan are ineffective; nonstandard provisions will be effective only if there
    is a check in the box “Included” in paragraph 1.
    See Attached Addendum 1




Edward J. Duffy                         10/16/18
 DEBTOR                                  DATE                        DEBTOR                                         DATE


CERTIFICATE OF SERVICE on Creditors/Parties Treated in Paragraphs 4(b)(1) (under the “Collateral Value
if Not Paying in Full” column), 4(b)(2) (under the “Amount of Claim as Modified” column), 5, and 6 (see FRBP
3012, 4003(d), and 9014, and LBR 6006-1(b)). I certify that copies of this plan and the notice of hearing to confirm
this plan were served as follows:

a) For creditors/parties who are not Insured Depository Institutions (served by court) (see FRBP 7004(b)), I
   either listed the creditors/parties in the mailing list filed with the court exactly as follows, OR, on 10/16/18 ,
   I served the above-documents by first-class mail to the creditors/parties at the names and addresses exactly
   as follows (list each creditor/party, the person or entity the creditor/party was served through, and the
   address):
    See Attached Addendum 2




b) or Insured Depository Institutions (see FRBP 7004(h)), on           10/16/18     , I served the above-documents
   by certified mail, or by other authorized means (specify), at the name and address exactly as follows (list each
   insured depository institution, the person or entity the institution was served through, and the address):
    See Attached Addendum 2




                                                                  /s/ Michael D. O'Brien
                                                                     DEBTOR OR DEBTOR’S ATTORNEY

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Addendum #1 to Chapter 13 Plan Dated October 16, 2018



Chapter 13 Plan Section –ADDITIONAL NONSTANDARD PROVISIONS- Addendum**



15.   Debtor must also pay to the Trustee any additional amounts necessary to enable the
      Trustee to pay in full all claims entitled to priority under 11 U.S.C. section 507, unless
      the holder of a particular claim agrees to a different treatment of the claim.

16.   To preserve feasibility the debtor shall sell or refinance his residence at 1717 SW
      Highland Road, Portland, OR 97221 on or about the 39th month (December 31, 2021) and
      shall pay to the Trustee from the proceeds at closing, funds sufficient to pay all creditors
      secured by the subject property remaining in the plan. Secured creditors are Wells Fargo
      Bank, N.A.; The Bank of Oswego, Motschenbacher & Blattner, LLP, Kehoe NW
      Properties, LLC and John & Debra Stover. The debtor shall obtain the Trustee’s
      permission prior to any sale or refinance and to obtain that permission, provide copies to
      the Trustee of a preliminary closing statement and title report. The debtor shall provide
      the Trustee with a copy of the final closing statement within 15 days following the close
      of the sale or refinance. Notwithstanding paragraph 11 above, no additional notice shall
      be required prior to completing such sale.

17.   Debtor has objected to the Proof of Claim filed by the Department of the Treasury –
      Internal Revenue Service and the tax liability is currently being determined by the United
      States Tax Court in Case No. 8711-16. Within thirty days after a final tax liability
      determination is made and any appeals have been concluded, if Debtor is determined to
      owe a priority tax obligation that would negatively affect the feasibility of this plan, then
      Debtor shall file an amended plan to address such feasibility.




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*Addendum #2 to Chapter 13 Plan Section –

CERTIFICATE OF SERVICE ON CREDITORS/PARTIES



   a) Creditors/parties who are not insured Depository Institutions.



John Stover and Debra Stover, 15 Ivy Reach Court, Cockeysville, MD 21030

Wells Fargo Bank, N.A. Bankruptcy Dept. / MAC D3347-014, 3476 Stateview Blvd., Fort Mill SC
29715-7203

Motschenbacher & Blattner, LLP, c/o Nicholas J. Henderson, Partner, 117 SW Taylor Street,
#200, Portland OR 97204-3029

Kehoe NW Properties, LLC, c/o Martin Kehoe, R.A. 6605 SW Macadam Avenue, Suite 100,
Portland OR 97239



   b) Creditors/parties who are Insured Depository Institutions


Wells Fargo Bank, N.A., c/o Timothy J. Sloan, CEO, 420 Montgomery Street
San Francisco, CA 94104

The Bank of Oswego, c/o Casey M. Nokes, Attorney Cable Huston, LLP 1001 SW 5th Avenue,
Suite 2000 Portland OR 97204-0000

HomeStreet Bank, c/o Mark K. Mason, CEO, 2000 Two Union Square, 601 Union Street,
Seattle, WA 98101




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